                                                                                                                         Page 1 of 1
                        Case 13-01011-RBR                 Doc 36       Filed 05/15/14          Page 1 of 2


             U.S. Bankruptcy Court, Southern District of Florida - Returned Mail Notice, In re: , Case Number:
             13-01011, RBR, Ref: [p-68839680]
             USBankruptcyCourts
             to:
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1 Attachment


R_P01301011CGFD610077.PDF

Notice of Returned Mail to Court - Adversary Proceeding

May 14, 2014

From: The Bankruptcy Noticing Center

Re:   Returned Mail Notice - Adversary Proceeding

In re: Marc P. Barmat, Ch 7 Trustee, Plaintiff
       Catheli, LLC, Defendant
       Adv. Proc. No. 13-01011 RBR

The attached document was mailed to the notice recipient(s) listed below via the U.S. Postal Service, and it was returned to the
Bankruptcy Noticing Center as undeliverable. This notification is being sent for appropriate processing as your court may determine.


Notice Recipient's Address on Envelope Returned to the Bankruptcy Noticing Center:

Catheli, LLC
c/o Catherine Navas
2334 Weston Rd #222
Weston, FL 33326-3260




file:///C:/Users/rodrigueza/AppData/Local/Temp/notesDF63F8/~web8192.htm                                                   5/15/2014
                        Case 13-01011-RBR              Doc 36       Filed 05/15/14          Page 2 of 2
Form CGFD61 (9/19/08)
                                            United States Bankruptcy Court
                                              Southern District of Florida
                                                www.flsb.uscourts.gov

Case Number: 12−10728−RBR                                                      Adversary Number: 13−01011−RBR


In re:
Name of Debtor(s): Smoking Everywhere Inc

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Marc P. Barmat, Ch 7 Trustee
Plaintiff(s)
VS.

Catheli, LLC and Catherine Navas
Defendant(s)
−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−−/




                                                ENTRY OF DEFAULT


    A motion for entry of default has been filed pursuant to Local Rule 7055−1. It appears from the record
that the following defendant failed to plead or otherwise defend in this case as required by law:




                         Name: Catheli, LLC




      Therefore, default is entered against the defendant as authorized by Bankruptcy Rule 7055.




Dated: 4/24/14                                                   CLERK OF COURT
                                                                 By: Sandra Manboard
                                                                 Deputy Clerk (954) 769−5700



The clerk shall serve a copy of the Entry of Default on all parties to the adversary proceeding
